                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-159

                                        No. COA21-135

                                     Filed 15 March 2022

     Wake County, No. 19 CVS 2569

     MICHAEL R. GALLOWAY, as Trustee of the MELISSA GALLOWAY SNELL
     LIVING TRUST DATED May 1, 2018, and as the Personal Representative of the
     ESTATE OF MELISSA GALLOWAY SNELL, Plaintiff,

                  v.

     JEFFREY SNELL, Defendant.


           Appeal by Defendant from order entered 19 August 2020 by Judge A. Graham

     Shirley, II, in Wake County Superior Court.       Heard in the Court of Appeals 3

     November 2021.


           The Connor Law Firm, PLLC, by Gregory S. Connor, for Plaintiff-Appellee.

           Smith, Debnam, Narron, Drake, Saintsing, &amp; Myers, LLP, by Bettie Kelley
           Sousa, for Defendant-Appellant.


           COLLINS, Judge.


¶1         Defendant Jeffrey Snell (“Jeff”) appeals the trial court’s order granting

     summary judgment to Plaintiff Michael Galloway, as Trustee of the Melissa Galloway

     Snell Living Trust and Personal Representative of the Estate of Melissa Galloway

     Snell (“Michael”), in a declaratory judgment action to determine the beneficiary of

     $1,000,000 in proceeds from certain insurance policies on the life of Melissa Galloway
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     Snell (“Melissa”), who was Jeff’s ex-wife and Michael’s sister. At issue is whether the

     terms of an agreement between Jeff and Melissa permitted Melissa to change the

     beneficiary of her life insurance policies from Jeff to a living trust Melissa set up for

     the benefit of the four children she shared with Jeff. Because the pertinent language

     of the agreement is ambiguous, the trial court erred by granting summary judgment

     to Michael. We reverse the trial court’s order and remand for further proceedings.

                                          I.    Facts

¶2         Jeff and Melissa were married on 25 March 2000 and separated on or about 11

     August 2017. They had four children together. Melissa filed a comprehensive lawsuit

     against Jeff arising from their separation. The parties entered into a Memorandum

     of Mediated Settlement Agreement (“Agreement”) on 8 February 2018 addressing

     child support, spousal support, and equitable distribution.1 The Agreement was

     signed by both Jeff and Melissa, their attorneys, and the mediator, and was notarized.

     The Agreement provides that “more formal” documents reflecting the parties’

     agreement will follow and that the parties shall promptly execute the formal

     documents when their attorneys are “reasonably satisfied that the formal documents

     substantially comply with the terms of this Memorandum.”

¶3         The Agreement further states that “[t]he parties agree to be mutually bound




           1 Child custody was addressed in a separate document.
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by the terms and conditions set forth herein and on the attached document.” The

attached document consists of “five additional pages containing terms and conditions

of the settlement reached by the parties hereto.” The terms and conditions provide,

in part:

            Equitable Distribution

                ....

                   Non ED [Equitable           Distribution]   Assets/
                    Children’s Assets:

                         o The children’s treasury bonds and checking
                         accounts would be kept intact and not used for
                         anything absent the parties mutual
                         agreement. Melissa and Jeff shall be joint
                         owners of the accounts, such that no funds can
                         be removed absent both parties’ signatures.
                         Both parties shall have online access to all
                         statements.

                         o The children’s American Funds accounts
                         shall be used for the children’s education only,
                         absent mutual agreement by the parties.

                         o The [c]hildren’s life insurance policies shall
                         be kept intact. Jeff will be responsible for 90%
                         of the premiums and Melissa shall be
                         responsible for 10% of the premiums until the
                         child is gainfully employed. The beneficiary
                         shall be the children’s trust (see details about
                         trust below).

            Custody- see the consent order for custody

            Support- Child and Spousal
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   Jeff to pay $4,400/mo. in child support with
    automatic step down of $750.00 when child support
    for a child terminates by statute. The amount of
    child support may be modified if a child begins
    residing primarily with Jeff, or a court orders a
    different amount of child support.

   Alimony to be paid as follows: commencing March 1,
    2018 and continuing on the first day of each month       ■
    thereafter for the next six years (February 1, 2024),
    unless sooner terminated as set forth below Jeff
    shall pay alimony in the amount of $6,000 month
    (taxable to Melissa, tax-deductible to Jeff); Alimony
    shall sooner terminate upon the death of either
    party, Melissa’s remarriage or cohabitation, or
    reconciliation of the parties, whichever first occurs.
    The alimony obligation to be contained in SAPS and
    non-modifiable unless Jeff suffers an involuntary
    decrease in gross annual income of 20 percent or
    more below an annual income of $292,000. If
    Melissa suffers an involuntary increase in her needs,
    she may also seek modification of the alimony via
    arbitration. In no event shall the duration of
    alimony exceed 6 years. The parties shall submit the
    issue of modified alimony to arbitration, with the
    arbitrator’s cost to be equally divided.

   Jeff will pay 100% of premium costs for kids’
    medical, dental, and vision insurance until the child
    graduates from college or reaches age 21, whichever
    comes first.

   Unreimbursed children’s medical expenses shall be
    split 90% Jeff and 10% Melissa, unless modified by
    court order. Party incurring the expense shall
    submit receipt, etc. to the other party and the other
    party shall reimburse within 20 days of receiving
    expense. Unreimbursed or uncovered health care
    costs shall include any amount not covered by
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                              Opinion of the Court



              health, dental, or vision insurance for co-pays,
              doctor’s visits, medical and hospitalization, and
              reasonable and necessary dental, orthodontic,
              optical, ophthalmologic, psychological, psychiatric,
              therapeutic, or pharmaceutical or any other health
              care related expenses incurred for the benefit of or
              on behalf of the child. The parties shall explore
              whether they can obtain [an] HSA account to use for
              the children’s medical expenses.

             Jeff to pay for [Eli] and [Landon]’s cell phones and
              Melissa to pay for [Jill] and [Jamie]’s cell phones
              until that child graduates from college or turns 21,
              whichever comes first.2

             As long as Jeff has support obligations or is obligated
              to pay for children’s college as outlined below, he
              shall maintain a life insurance policy naming
              Melissa is (sic) as the beneficiary with a death
              benefit of $2 Million.

             Until Melissa no longer has an obligation to pay for
              college expenses, she shall maintain a life insurance
              policy naming Jeff the beneficiary with a death
              benefit of at least $1 Million. Jeff at his election may
              maintain (as owner) at his sole expense [words
              crossed out] life insurance policy on Melissa’s life
              totaling $1,000,000 in death benefit.

             Additional term: the parties currently have a health
              insurance policy with a deductible of $10K. Prior to
              Melissa’s flu and hospitalization, Melissa had paid
              almost $1K. Jeff shall pay as non-taxable support
              the sum of up to $9,000.00 in the form of payments
              directly to medical providers as the bills come due
              for the 2018 policy term.



2 We use pseudonyms for the children to protect their identities.
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                                        Opinion of the Court



                        Children’s trust–each party shall, within 90 days,
                         set up a trust for the benefit of the minor children so
                         that the children can receive any insurance proceeds
                         in lieu of the other party being named the
                         beneficiary. Jeff’s brother shall be named as trustee
                         of the children’s trust established by Jeff, and
                         Melissa’s brother shall be named as trustee of the
                         children’s trust established by Melissa.

                        Jeff shall keep Melissa on his health insurance until
                         the date of divorce. Melissa shall be responsible for
                         her own out of pocket expenses prospectively.

     The Agreement also addresses the parties’ payments for the children’s private school

     and college, attorneys’ fees, and business valuation costs.

¶4         At the time of signing the Agreement, Jeff had five policies on his own life, each

     naming Melissa as the beneficiary—two $1,000,000 policies, and three other policies

     in the amounts of $305,000; $882,393; and $1,695,000. Melissa had three policies on

     her own life, each naming Jeff as the beneficiary—two $500,000 policies and one

     $415,392 policy. Each of the four children also had a life insurance policy, each

     naming Jeff and Melissa as beneficiaries.

¶5         In late March or early April 2018, Melissa learned that cancer, for which she

     had previously been treated, had returned. On 1 May 2018, Melissa established the

     Melissa Galloway Snell Living Trust (“Trust”), naming the children as the

     beneficiaries and her brother Michael as the trustee and contingent beneficiary. On

     16 May 2018, Melissa changed the beneficiary of at least her two $500,000 life
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                                            Opinion of the Court



     insurance policies from Jeff to the Trust.3

¶6          Melissa sent Jeff a “Separation and Property Settlement Agreement” on 23

     May 2018, which she proposed as the anticipated formalization of the Agreement,

     that included the following terms:

                    16. Children’s Trust:

                           a. On or before May 9, 2018, each party shall set up
                           a trust for the benefit of the minor children. Wife
                           shall name her brother, Michael Galloway, as the
                           trustee for her trust, and Husband shall name his
                           brother, Justin Snell as the beneficiary for his trust.

                           b. So long as Wife has an obligation to pay for the
                           children’s college expenses as outlined hereinbelow,
                           she shall maintain a life insurance policy on her life
                           naming the children’s trust as the beneficiary with a
                           death benefit of at least one million dollars. So long
                           as Husband has a child support obligation and/or
                           college expense obligation as outlined hereinbelow,
                           he shall maintain a life insurance policy on his life
                           with a death benefit of at least two million dollars
                           naming the children’s trust as the beneficiary.

¶7          Neither Jeff nor Melissa signed the Separation and Property Settlement

     Agreement. On 4 June 2018, Melissa notified Jeff’s attorney that she had established

     the Trust and changed the beneficiary of her two $500,000 life insurance policies from

     Jeff to the Trust. In or around February 2019, Jeff notified Northwestern Mutual,




            3 The proceeds in dispute are from the two $500,000 insurance policies on Melissa’s

     life. The proceeds of Melissa’s third life insurance policy, totaling $415,392, is not in dispute.
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     the issuer of the policies, that he was contesting the beneficiary of Melissa’s two

     $500,000 life insurance policies. On 15 February 2019, Melissa signed an affidavit

     detailing her intentions for the insurance proceeds and her understanding of the

     original Agreement. Melissa died of cancer on 21 February 2019.

¶8          Michael filed a Verified Complaint on 26 February 2019 and a Verified First

     Amended Complaint on 23 March 2019, seeking declaratory judgment that the

     Agreement “unambiguously provides that Melissa may lawfully name [the Trust] as

     the beneficiary of the proceeds of the Life Insurance Policy” and that “Defendant has

     no lawful claim to the proceeds of the Life Insurance Policy because [the Trust] was

     created and named the beneficiary of the Life Insurance Policy.”4 Jeff filed an answer

     and counterclaim seeking declaratory judgment that he is the sole beneficiary of the

     two $500,000 insurance policies on Melissa’s life and asserting a breach of contract

     claim against Michael, arguing that Melissa failed to keep in effect life insurance

     policies with a $1,000,000 death benefit payable to Jeff as beneficiary. Michael

     answered and moved to dismiss Jeff’s counterclaims. The parties filed cross-motions

     for summary judgment on all claims and submitted supplemental materials,

     including affidavits, in support of their motions.

¶9          The parties’ motions came on for hearing on 28 July 2020. The trial court



            4 Michael’s complaint also alleged an unrelated claim for breach of contract regarding

     an equitable distribution dispute. The resolution of that issue is not on appeal.
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                                        Opinion of the Court



       entered an order on 19 August 2020 (“Order”) wherein it concluded, in relevant part:

                   6. The terms of the Settlement Agreement are not
                   ambiguous.

                   7. There is no genuine issue of material fact precluding the
                   granting of summary judgment on [Michael]’s declaratory
                   judgment cause of action.

                   8. [Michael] is entitled to summary judgment on his
                   declaratory judgment cause of action, with the following
                   declared:

                          I. The Settlement Agreement, subject to II below,
                          required [Melissa] to maintain life insurance
                          naming Jeff the beneficiary with a death benefit of
                          at least $1 Million until she no longer had an
                          obligation to pay for college expenses;

                          II. The Settlement Agreement permitted Melissa
                          Galloway Snell to change the beneficiary on
                          insurance she owned to the children’s trust in lieu of
                          having [Jeff] named as beneficiary, including
                          changing the beneficiary on the two life insurance
                          policies in which [Jeff] was named as the beneficiary,
                          with death benefits totaling $1,000,000.00, to the
                          Melissa Galloway Snell Living Trust as beneficiary;

                          III. That the Melissa Galloway [Snell] Living Trust
                          dated May 1, 2018 is the proper sole beneficiary of
                          all of the life insurance policies owned by Melissa
                          Galloway Snell at her death.

¶ 10         The trial court granted Michael’s motion for summary judgment and denied

       Jeff’s cross-motion for summary judgment.

¶ 11          Jeff timely appealed.
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                                        II.     Discussion

¶ 12         Jeff argues that the trial court erred by granting summary judgment to

       Michael, and by failing to grant summary judgment to Jeff, as there was no genuine

       issue of material fact and Jeff was the beneficiary of Melissa’s disputed insurance

       policies as a matter of law. In the alternative, Jeff argues that the trial court erred

       by granting summary judgment to Michael because there is a genuine issue of

       material fact as to the life insurance beneficiary under the Agreement, and therefore,

       that the matter should be remanded to the trial court for further proceedings.

¶ 13         Summary judgment is appropriate if “the pleadings, depositions, answers to

       interrogatories, and admissions on file, together with the affidavits, if any, show that

       there is no genuine issue as to any material fact and that any party is entitled to a

       judgment as a matter of law.” N.C. Gen. Stat. § 1A-1, Rule 56(c) (2020). “[A]ll

       inferences of fact . . . must be drawn against the movant and in favor of the party

       opposing the motion.” Caldwell v. Deese, 288 N.C. 375, 378, 218 S.E.2d 379, 381
       (1975) (quotation marks omitted). The standard of review for summary judgment is

       de novo. Builders Mut. Ins. Co. v. N. Main Constr., Ltd., 361 N.C. 85, 88, 637 S.E.2d

       528, 530 (2006). The interpretation of a contract is a conclusion of law that is likewise

       reviewed de novo. In Re Est. of Cracker, 273 N.C. App. 534, 538, 850 S.E.2d 506, 509

       (2020).

¶ 14         Settlement agreements are interpreted as contracts and are governed by the
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       rules of contract interpretation and enforcement. Harris v. Ray Johnson Constr. Co.,

       139 N.C. App. 827, 829, 534 S.E.2d 653, 654 (2000) (citation omitted). “Whenever a

       court is called upon to interpret a contract[,] its primary purpose is to ascertain the

       intention of the parties at the moment of its execution.” Gilmore v. Garner, 157 N.C.

       App. 664, 666, 580 S.E.2d 15, 18 (2003) (quotation marks and citation omitted). “It

       must be presumed the parties intended what the language used clearly expresses,

       and the contract must be construed to mean what on its face it purports to mean.”

       Hartford Accident &amp; Indem. Co. v. Hood, 226 N.C. 706, 710, 40 S.E.2d 198, 201 (1946)

       (citations omitted). Under well-settled principles of legal construction, when “the

       language of a contract is clear and unambiguous, construction of the contract is a

       matter of law for the court.” Hagler v. Hagler, 319 N.C. 287, 294, 354 S.E.2d 228, 234
       (1987).

¶ 15         If, however, the language of a contract “is ambiguous and the intention of the

       parties is unclear, interpretation of the contract is for the [finder of fact],” and

       summary judgment is not appropriate. Glover v. First Union Nat’l. Bank of N.C., 109

       N.C. App. 451, 456, 428 S.E.2d 206, 209 (1993). A contract is ambiguous “when either

       the meaning of words or the effect of provisions is uncertain or capable of several

       reasonable interpretations.” Register v. White, 358 N.C. 691, 695, 599 S.E.2d 549,

       553 (2004). In determining whether a contract is ambiguous, “words are to be given

       their usual and ordinary meaning and all the terms of the agreement are to be
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                                         Opinion of the Court



       reconciled if possible . . . .” Piedmont Bank and Trust Co. v. Stevenson, 79 N.C. App.

       236, 241, 339 S.E.2d 49, 52 (1986).

¶ 16         The Agreement at issue in this case includes, inter alia, the following:

                    Equitable Distribution
                          ....
                          ● Non-ED Assets/Children’s Assets:
                                 ....
                                 o The Children’s life insurance policies shall
                                 be kept intact. Jeff will be responsible for 90%
                                 of the premiums and Melissa shall be
                                 responsible for 10% of the premiums until the
                                 child is gainfully employed. The beneficiary
                                 shall be the children’s trust (see details about
                                 trust below).
                    Custody– see the consent order for custody
                    Support– Child and Spousal
                          ....
                          ● As long as Jeff has support obligations or is
                          obligated to pay for children’s college as outlined
                          below, he shall maintain a life insurance policy
                          naming Melissa is (sic) as the beneficiary with a
                          death benefit of $2 Million.
                          ● Until Melissa no longer has an obligation to pay
                          for college expenses, she shall maintain a life
                          insurance policy naming Jeff the beneficiary with a
                          death benefit of at least $1 Million. Jeff at his
                          election may maintain (as owner) at his sole expense
                          life insurance policy on Melissa’s life totaling
                          $1,000,000 in death benefit.
                          ● Additional term: the parties currently have a
                          health insurance policy with a deductible of $10K.
                          Prior to Melissa’s flu and hospitalization, Melissa
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                           had paid almost $1K. Jeff shall pay as non-taxable
                           support the sum of up to $9,000.00 in the form of
                           payments directly to medical providers as the bills
                           come due for the 2018 policy term.
                           ● Children’s trust–each party shall, within 90 days,
                           set up a trust for the benefit of the minor children so
                           that the children can receive any insurance proceeds
                           in lieu of the other party being named the
                           beneficiary. Jeff’s brother shall be named as trustee
                           of the children’s trust established by Jeff, and
                           Melissa’s brother shall be named as trustee of the
                           children’s trust established by Melissa.

¶ 17         The “Equitable Distribution” section addressing “Non-ED Assets/Children’s

       Assets” provides, “The [c]hildren’s life insurance policies shall be kept intact” and,

       “The beneficiary shall be the children’s trust (see details about trust below).”5 This

       subsection of the Agreement, which pertains to assets not to be distributed to the

       parties in equitable distribution and assets belonging to the Children, is the sole

       provision in the Agreement that specifically instructs that certain life insurance

       policies shall name the children’s trust as the beneficiary.

¶ 18         Subsequently, the “Support– Child and Spousal” section requires Jeff to

       “maintain a life insurance policy naming Melissa is (sic) as the beneficiary with a

       death benefit of $2 Million” and Melissa to “maintain a life insurance policy naming

       Jeff the beneficiary with a death benefit of at least $1 Million.” After an intervening


             5 We note that the “Children’s trust” section requires two trusts to be set up, one by

       each party. The Agreement does not indicate which of these two trusts would be the
       beneficiary of the children’s life insurance policies.
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                                         Opinion of the Court



       term addressing payment of certain medical bills, the parameters of the children’s

       trust are set forth, stating that “each party shall, within 90 days, set up a trust for

       the benefit of the minor children so that the children can receive any insurance

       proceeds in lieu of the other party being named the beneficiary.”

¶ 19         Jeff argues that the Agreement unambiguously required Melissa to “maintain

       a life insurance policy naming Jeff the beneficiary with a death benefit of at least $1

       Million” until “Melissa no longer had an obligation to pay for college expenses,” and

       the children’s trust was to be the beneficiary of proceeds from other policies—

       including each of the children’s life insurance policies, the $415,392 policy on

       Melissa’s life, and the three policies on Jeff’s life in the amounts of $305,000;

       $1,695,000; and $882,393. Jeff further argues that the two $500,000 policies on

       Melissa’s life and the two $1,000,000 policies on Jeff’s life “represented carve-outs

       with funds going directly to the surviving spouse” and were “never intended for the

       Trust.”

¶ 20         In the alternative, Jeff argues that the Agreement is ambiguous as to whether

       Melissa was required to “maintain a life insurance policy naming Jeff the beneficiary

       with a death benefit of at least $1 Million” until “Melissa no longer had an obligation

       to pay for college expenses” or whether, once a party set up a trust for the benefit of

       the children, the party could change the beneficiary of any insurance policy such that

       “the children can receive any insurance proceeds in lieu of the other party being
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                                             Opinion of the Court



       named the beneficiary.”

¶ 21          Michael, by contrast, argues that the Agreement unambiguously provides that

       once a party sets up a trust for the benefit of the children, the party could change the

       beneficiary of any insurance policy such that “the children can receive any insurance

       proceeds in lieu of the other party being named the beneficiary.”6

¶ 22          It is reasonable to interpret the terms of the Agreement as requiring Melissa

       to maintain a $1,000,000 life insurance policy with Jeff as the beneficiary; requiring

       Melissa to set up a trust for the benefit of the children within 90 days of signing the

       Agreement; and, after setting up the trust, naming the children’s trust the beneficiary

       of the children’s life insurance policies and other insurance policies not specified in



              6 In his complaint and appellate brief, Michael represents that the relevant portions

       of the Agreement are as follows:

                     Until Melissa no longer has an obligation to pay for college
                     expenses, she shall maintain a life insurance policy naming Jeff
                     the beneficiary with a death benefit of at least $1
                     Million…Children’s Trust–each party shall, within 90 days, set
                     up a trust for the benefit of the minor children so that the children
                     can receive any insurance proceeds in lieu of the other party being
                     named the beneficiary, Jeff’s brother shall be named as trustee of
                     the children’s trust established by Jeff, and Melissa’s brother
                     shall be named as trustee of the children’s trust established by
                     Melissa.

       By omitting the provision regarding the children’s life insurance policies, which directly
       references the creation of the children’s trust, and by replacing the intervening term in the
       above-quoted language with ellipses, Michael’s representation of the relevant portions is
       somewhat misleading.
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       the Agreement, “so that the children can receive any insurance proceeds in lieu of the

       other party being named beneficiary.”

¶ 23          It is also reasonable to interpret the terms of the Agreement as requiring

       Melissa to maintain a $1,000,000 life insurance policy with Jeff as the beneficiary;

       requiring Melissa to set up a trust for the benefit of the children within 90 days of

       signing the Agreement; and, after setting up the children’s trust, allowing Melissa to

       name the Trust as the beneficiary of her two $500,000 life insurance policies “in lieu

       of” Jeff.

¶ 24          In sum, we conclude that the language of the Agreement is ambiguous, and

       summary judgment is not appropriate for either party. To resolve the ambiguity, the

       case must be remanded to the trial court for further proceedings. See, e.g., Schenkel

       &amp; Shultz, Inc. v. Hermon F. Fox &amp; Assocs., 362 N.C. 269, 275, 658 S.E.2d 918, 923
       (2008); C. O. Gore v. George J. Ball, Inc., 279 N.C. 192, 201, 182 S.E.2d 389, 394 (1971)

       (“While the construction of clear and unambiguous language in a contract is for the

       court, it is for the [fact finder] to determine whether a particular agreement was or

       was not part of the contract actually made by the parties.”).

¶ 25          In light of this conclusion, we do not reach Jeff’s remaining arguments.

                                       III.     Conclusion

¶ 26          We reverse the trial court’s order granting summary judgment to Michael on

       the issue of the proper life insurance beneficiary of Melissa’s insurance policies and
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remand to the trial court for further proceedings.

      REVERSED AND REMANDED.

      Judge CARPENTER concurs.

      Judge HAMPSON dissents by separate opinion.
        No. COA21-135 – Galloway v. Snell


              HAMPSON, Judge, dissenting.


¶ 27          The Opinion of the Court captures—with characteristic precision and clarity—

       both the salient facts and the applicable law. I simply diverge from the majority in

       my analysis and conclusion. In my view, the provisions of the Agreement at issue in

       this case relating to child support are unambiguous and Summary Judgment was

       appropriately granted to Plaintiff.7 I would affirm the trial court’s 19 August 2020

       Order granting summary judgment in favor of Plaintiff on the declaratory judgment

       claim. Therefore, I respectfully dissent.

¶ 28          It is apparent on the face of the Agreement that Jeff and Melissa intended the

       support provisions—in relevant part—to address and resolve the respective

       responsibilities of the parties to ensure for their children’s college education beyond

       each of the four children reaching the age of majority. See Altman v. Munns, 82 N.C.

       App. 102, 104, 345 S.E.2d 419, 422 (1986) (“Under North Carolina law, a separation



              7 That is not to say there is not some level of ambiguity in other terms of the
       Agreement related to spousal and child support or property distribution—just that those
       terms are not before us. This is also not to say that the memorandum memorializing the
       mediated settlement agreement is itself a model of clarity and organization. It is not.
       However, that likely reflects the long, difficult and complicated negotiations that go into
       resolving these cases—involving all aspects of the parties’ lives—and the efforts to capture
       each party’s disparate concerns and demands in order to resolve the case short of the
       uncertainty of trial. Nevertheless, where we can discern the clear intent of the parties from
       the plain and unambiguous text of the agreement—even if written less than eloquently—we
       should.
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                                           2022-NCCOA-159

                                         Hampson, J., dissenting



       agreement may provide for the support of the children of the marriage after they

       reach majority. The most common of these provisions is one providing for the payment

       of college expenses of the children.”) (citations omitted). The Agreement accomplishes

       this goal by providing: (1) each party contribute a portion of their income to 529

       accounts for the children; and (2) in the event a child’s 529 account does not cover the

       costs of college, apportioning the remaining costs between Jeff (90%) and Melissa

       (10%) with each party’s obligation limited to the cost of in-state tuition, books, fees,

       etc. at UNC-Chapel Hill, for up to 8 semesters per child.8

¶ 29         Additionally, in the provisions specifically at issue in this case, in the event of

       the other party’s death, Jeff and Melissa agreed to secure Jeff’s support obligation

       and their respective responsibilities for the four children’s college education through

       life insurance policies until those obligations were complete:

                           ● As long as Jeff has support obligations or is
                           obligated to pay for children’s college as outlined
                           below, he shall maintain a life insurance policy
                           naming Melissa is (sic) as the beneficiary with a
                           death benefit of $2 Million.
                           ● Until Melissa no longer has an obligation to pay
                           for college expenses, she shall maintain a life
                           insurance policy naming Jeff the beneficiary with a
                           death benefit of at least $1 Million. Jeff at his
                           election may maintain (as owner) at his sole expense
                           life insurance policy on Melissa’s life totaling
                           $1,000,000 in death benefit.


             8 See my prior footnote re: potential ambiguity in other terms of the Agreement.
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                                    2022-NCCOA-159

                                 Hampson, J., dissenting




These two provisions anticipate: (1) life insurance coverage purchased by Jeff with

Melissa as beneficiary in the event of Jeff’s death in the amount of $2 million; (2) life

insurance coverage purchased by Melissa with Jeff as the beneficiary in the event of

Melissa’s death in the amount of $1 million; and (3) a potential third policy purchased

or maintained by Jeff with Jeff as the beneficiary in the event of Melissa’s death in

the further amount of $1 million. Next—after an unrelated provision for medical

expenses and health insurance deductible payments—the Agreement provides:

                    ● Children’s trust–each party shall, within 90 days,
                    set up a trust for the benefit of the minor children so
                    that the children can receive any insurance proceeds
                    in lieu of the other party being named the
                    beneficiary. Jeff’s brother shall be named as trustee
                    of the children’s trust established by Jeff, and
                    Melissa’s brother shall be named as trustee of the
                    children’s trust established by Melissa.

This provision anticipates that each party will set up a trust and that the purpose of

this trust is to provide an additional level of security to the parties to the Agreement

by providing a mechanism whereby one spouse could (but was not required) ensure

the proceeds from the insurance policy they purchased to secure their support and

college expense obligation would ultimately be used for the benefit of the children and

not result in a “windfall” for the opposing party. The provision does this by allowing

each party to establish a trust for the benefit of the children that may be named as

the beneficiary “in lieu of the other party.” In other words, applied to this case,
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                                           2022-NCCOA-159

                                        Hampson, J., dissenting



       Melissa was to set up a trust for the benefit of the minor children and was permitted—

       but not required—to name the trust as the beneficiary of the life insurance policy (or

       policies) she purchased to secure her college expense obligations “in lieu of” Jeff.9

¶ 30         Thus, the support the provisions at issue in this case unambiguously provide

       for the parties’ obligations for college expenses of their minor children secured by life

       insurance policies purchased with the other party as the beneficiary with the option

       of a trust set up for the benefit of the children to be named the beneficiary in lieu of




       9 The argument advanced by Defendant—that a separate provision related to the

       parties’ property distribution claims and addressing life insurance policies taken out
       by Jeff insuring the lives of the children creates ambiguity in the support provisions—
       is not persuasive to me. I agree that particular provision is itself somewhat
       ambiguous. It states: “The [c]hildren’s life insurance policies shall be kept intact.
       Jeff will be responsible for 90% of the premiums and Melissa shall be responsible for
       10% of the premiums until the child is gainfully employed. The beneficiary shall be
       the children’s trust (see details about trust below).” As the majority notes, where the
       subsequent provision detailing the children’s trusts to be set up anticipates two
       separate trusts, it is not entirely clear which trust or trusts is intended to be the
       beneficiary of the children’s life insurance policies referenced in the property
       settlement. This ambiguity is not, however, before us and has no bearing on the
       separate support provisions. Indeed, there is not any argument before us that the
       property settlement and support provisions were reciprocal or non-severable. See,
       e.g., Morrison v. Morrison, 102 N.C. App. 514, 520, 402 S.E.2d 855, 859 (1991) (“There
       exists a presumption that the provisions of a marital agreement are separable and
       the burden of proof is on the party claiming that the agreement is integrated.”). As
       such, the provisions truly at issue in this case are those support provisions. In that
       regard, I also disagree with the majority’s footnote 6 characterizing Plaintiff’s
       pleadings and argument focusing on those relevant provisions as “somewhat
       misleading.” To the contrary, Plaintiff merely attempts to focus the argument on the
       relevant provisions.
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                                  2022-NCCOA-159

                                Hampson, J., dissenting



the other party. Therefore, by the unambiguous language of the Agreement, Melissa

was permitted to name the trust she set up for the benefit of the children as the

beneficiary of the insurance policies she maintained to secure her college expense

obligations.   Consequently, the trust is the proper beneficiary of the insurance

proceeds. Accordingly, Summary Judgment was properly granted to Plaintiff and

should be affirmed.
